                                                                      THIS ORDER IS APPROVED.


                                                                       Dated: January 15, 2016


   1   THE LAW OFFICE OF
   2
       KELLY G. BLACK, PLC                                             _________________________________
                                                                       Scott H. Gan, Bankruptcy Judge
       1152 E Greenway St, Ste 4
   3   Mesa, AZ 85203-3460
       P 480-639-6719
   4   F 480-639-6819
       Attorneys for Debtors
   5   By:    Kelly G. Black, No. 016376, kgb@kellygblacklaw.com

   6                               UNITED STATES BANKRUPTCY COURT
   7                                         DISTRICT OF ARIZONA
   8                                                           Chapter 12 Proceedings

   9    In re: Kenneth Claridge                                Case No. 4:13-bk-21078-SHG
               Mary Alyce Claridge
  10
                             Debtors.
  11
                                                Order Granting
  12                        Application for Payment and Compensation of Attorney
                             Fees and Costs and For Order and Judgment Thereon
  13                                           (First Application)
  14             Kelly G. Black, PLC having filed its Application for Payment and Compensation of
  15   Attorney Fees and Costs and For Order and Judgment Thereon (First Application) (the
  16   “Application”) (Doc 140) and the related Notice of Bar Date (Doc 141) (the “Notice”); the
  17   Application and Notice having been served (Doc 142); no party having filed a timely objection
  18   (Doc 143), and for good cause shown,
  19             IT IS ORDERED granting the Application as follows:
  20             A.        Allowing and approving Applicant’s fees for the Application Period totaling
  21   $30,450.00, which will be paid by Debtors;
  22             B.        Reimbursement of $1,165.22 in actual and necessary expenses, which Applicant
  23   has incurred and paid during the Application Period in connection with the rendering of such
  24   professional services, for a total award of $31,615.22; and
  25             C.        For a Judgment against Debtors for the total award in the sum of $31,615.22.
  26             SIGNED AND DATED ABOVE.
  27   Order 2016.01.14 004.docx


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Case 4:13-bk-21078-SHG             Doc 145 Filed 01/15/16 Entered 01/15/16 11:27:18              Desc
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